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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA


   UNITED STATES OF AMERICA

         v.                                    Case No. 19-20450-CR-Scola

   ALEX NAIN SAAB MORAN, and
   ALVARO PULIDO VARGAS, a/k/a
   “German Enrique Rubio Salas,”

       Defendants.


   REPLY IN FURTHER SUPPORT OF MOTION TO VACATE ORDER CONFERRING
        FUGITIVE STATUS AND FOR LEAVE FOR SPECIAL APPEARANCE
                      TO CHALLENGE INDICTMENT
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  I.      Questioning Counsel’s Engagement is a Diversion and Should Be Disregarded
          The government asserts that Mr. Saab’s Motion should be denied due to “concerns as to

  whether counsel . . . actually represent the defendant.” Opp’n at 5-6. The sole basis for these

  “concerns” is counsel’s refusal to provide a copy of its engagement letter (itself a communication

  between counsel and client) to the government. Id. at 6. There is no such obligation, and the

  government cites no case, rule or statute supporting its position. Nevertheless, rather than waste

  the Court’s time, counsel provided the Court with a redacted engagement letter ex parte and under

  seal. ECF No. 27. On February 27, 2021, the Court confirmed that it is satisfied that counsel has

  been retained by the Defendant to represent him in this matter. ECF No. 28.

  II.     The Diplomatic Documents are Authentic

          The government claims that Mr. Saab’s diplomatic documents were not properly

  authenticated under Federal Rule of Evidence (“FRE”) 902(3).1 See Opp’n at 15-16 n.3. However,

  the documents are self-authenticating under FRE 902(3)(A) without the need for a final consular

  certification. Alternatively, their distinctive characteristics provide authentication under FRE

  901(b)(4). See Nester v. Textron, Inc., 888 F.3d 151, 160 n.5 (5th Cir. 2018) (Rules 901 and 902

  are alternatives).

          Under FRE 901, a document may be authenticated if its proponent “produce[s] evidence

  sufficient to support a finding that the item is what the proponent claims it is.” FRE 901(a). The

  burden “is a light one,” In re Int’l Mgmt. Assocs., LLC, 781 F.3d 1262, 1267 (11th Cir. 2015), and

  “does not require the proponent . . . to rule out all possibilities inconsistent with authenticity, or to

  prove beyond any doubt that the evidence is what it purports to be.” United States v. Holmquist,

  36 F.3d 154, 168 (1st Cir. 1994). “[E]nough evidence that a jury could have reasonably concluded

  that a document was authentic” is sufficient. United States v. Williams, 865 F.3d 1328, 1343 (11th



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    The government cursorily references FRE 803(8), the hearsay exception for public records, but
  does not move to exclude this evidence. Any such motion should be denied as any record of a
  public office that sets out “the office’s activities” is admissible if “the opponent does not show that
  the source of information or other circumstances indicate a lack of trustworthiness.” FRE
  803(8)(A)(i), 803(8)(B). The government makes no attempt to carry this burden.


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  Cir. 2017) (quoting In re Int’l Mgmt. Assocs., 781 F.3d at 1267). This may be satisfied by the

  document’s “distinctive characteristics” such as “appearance, contents, substance, internal

  patterns, or other distinctive characteristics of the item, taken together with all the circumstances.”

  FRE 901(b)(4); see Williams, 865 F.3d at 1343; United States v. Caldwell, 776 F.2d 989, 1002

  (11th Cir. 1985).

         Mr. Saab’s diplomatic documents have multiple “distinctive characteristics” that “support

  a finding that the item is what [he] claims it is,” FRE 901(a), including signatures and addresses

  of appropriate government officials, governmental stamps and letterheads, official document

  numbers, standard form and appearance, and use of the appropriate vernacular.2 See, e.g., United
  States v. Maldonado-Rivera, 922 F.2d 934, 957-58 (2d Cir. 1990) (logo, content, and location of

  copy at co-defendant’s home established authenticity). They contain appropriate dates, reference

  his mission to Iran, are on letterhead, stamped, dated, signed and numbered by officials of two

  different sovereigns confirming Mr. Saab’s diplomatic mission. ECF Nos. 10-2, 10-3, 10-4. They

  were found inside Mr. Saab’s suitcase, taken from his private charter plane, Pinto Decl. ¶¶ 1-4,

  Ex. 1-2, exactly where such documents should be found during a diplomat’s transit. See Williams,

  865 F.3d at 1343 (Columbian “zarpe” document authenticated by circumstantial evidence

  including location onboard vessel); Int’l Mgmt. Assocs., 781 F.3d at 1267 (discovery at office is

  circumstantial evidence of authenticity); United States v. Gonzalez-Maldonado, 115 F.3d 9, 20

  (1st Cir. 1997) (document found in briefcase is evidence of authenticity). Additional documents

  provided by Mr. Saab’s Cape Verdean lawyer corroborate these documents’ authenticity, including

  correspondence from Venezuela’s Foreign Minister to his Cape Verde equivalent, Pinto Decl. Ex.

  3, 5, from Venezuela’s Cape Verde embassy to the Cape Verde Foreign Ministry, id. Ex. 4, and

  from Iran’s Ambassador there cross-referencing a letter from the Venezuelan Foreign Minister,



  2
    The originals’ “size and ‘feel’ of the paper, the embossed coat of arms, [and] the way that each
  letter was in its individual folder . . . and individual envelope” bearing the name of the relevant
  Venezuelan offices are all consistent with official diplomatic communications. See Declaration of
  Dr. José Manuel Pinto Monteiro (“Pinto Decl.”) filed herewith, ¶ 5, Ex. 1 (photos).


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  confirming Iran’s anticipated reception of Mr. Saab. Pinto Decl. Id. Ex. 6. All considered, a

  reasonable trier of fact should conclude the letters are authentic under FRE 901.

         Alternatively, the documents are authentic under FRE 902(3)(A). Foreign public

  documents are “presumptively authentic without final certification” if: (1) there is “good cause”

  for dispensing with the final certification; and (2) the other party has been “given a reasonable

  opportunity to investigate the document[s’] authenticity and accuracy . . . .” FRE 902(3); see also

  United States v. McGowan, 552 Fed. App’x 950, 954-55 (11th Cir. 2014). Both are met. First,

  “good cause” exists to dispense with final certification. Rule 44(a)(2) of the Federal Rules of Civil

  Procedure (“FRCP”)—which applies to criminal proceedings via Federal Rule of Criminal

  Procedure 27—is the foundation upon which FRE 902(3) is based.3 The advisory committee notes
  to Rule 44(a)(2) explain that dispensing with final certification upon “good cause” is permitted

  because “in some situations it may be difficult or even impossible to satisfy the basic requirements

  of the rule.” FRCP 44(a)(2)(C) advisory committee’s note (1966 amendment). Here, it is “difficult

  or impossible” to obtain final certification because the United States will not deal with Maduro’s

  government. Opp’n at 20. There are no diplomatic or consular officials “assigned or accredited to

  the United States” who would provide final certification, as those individuals represent Mr.

  Guaido.4 “Good cause” to dispense with final certification clearly exists.

         Second, the government has been “given a reasonable opportunity . . . to investigate the

  document[s’] authenticity and accuracy . . . .” FRE 902(3)(A). They were submitted with the

  Motion to Vacate, ECF No. 10. The government’s Response, ECF No. 24, was filed one month

  later, sufficient time for the government to investigate authenticity. See McGowan, 552 Fed. App’x


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    See FRE 902(3) advisory committee notes (explaining that 902(3) “is derived from Rule 44(a)(2)
  of the Rules of Civil Procedure but is broader in applying to public documents . . . [not] limited to
  public records.”).
  4
     The U.S. “maintains formal diplomatic relations with Venezuela and the Guaido interim
  government through its accredited Ambassador to the United States.” See U.S. Dep’t of State, U.S.
  Relations     with     Venezuela,     available    at    https://www.state.gov/u-s-relations-with-
  venezuela/#:~:text=The%20United%20States%20maintains%20formal,Venezuela%20Affairs
  %20Unit%20(VAU).


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  at 954 (finding two weeks satisfies “reasonable opportunity” to investigate). The government does

  not suggest otherwise. It has known of these documents for many months, as they have been used

  in Cape Verdean proceedings since Mr. Saab’s June 2020 arrest.5 See Pinto Decl. ¶ 11, Exs. 1-6;

  Opp’n, Ex. 2. Accordingly, because there is good cause for dispensing with a final consular

  certification and the government has been provided a reasonable opportunity to investigate

  authenticity, the documents are presumptively authentic under FRE 902(3)(B).

  III.   The Fugitive-Disentitlement Doctrine Does Not Apply

         Fugitive disentitlement is a “blunt [] instrument,” which “is limited by the necessity giving

  rise to its exercise.” Degen v. United States, 517 U.S. 820, 828-29 (1996). The government’s plea

  to apply the doctrine to a foreign diplomat bound to obey his government falls flat.

         As Mr. Saab’s opening brief explains (at 7-9), because he was never at any relevant time

  in the United States and has been commanded by Venezuela to resist extradition, he did not

  “constructively flee by deciding not to return.” United States v. Barnette, 129 F.3d 1179, 1184

  (11th Cir. 1997) (emphasis added). The government demands an even greater expansion of the

  doctrine than what the Seventh Circuit rejected in In re Hijazi, 589 F.3d 401 (7th Cir. 2009), which

  found the doctrine inapplicable to a defendant who “did not flee from the jurisdiction or from any

  restraints placed upon him.” Id. at 412. The same is true of Mr. Saab, in addition to the fact that

  he owes allegiance to a foreign nation, as its diplomat, and has been ordered to resist extradition.

         The government is wrong to contend “that the Eleventh Circuit has expressly disagreed

  with [Hijazi].” Opp’n at 10. First, on the merits of fugitive disentitlement, the Eleventh Circuit

  distinguished Hijazi, and did not split with it, because the defendant in that case had “significant

  contacts with the United States,” including that he “once resided in the Southern District of

  Florida.” United States v. Shalhoub, 855 F.3d 1255, 1264-65 (11th Cir. 2017) (emphasis added).

  The government ultimately concedes, Opp’n at 13, that, on the merits, Shalhoub “distinguish[ed]


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   Despite knowing of these documents’ existence, neither Cape Verdean nor U.S. authorities have
  ever questioned their authenticity in either the Cape Verde or ECOWAS proceedings. Pinto Decl.
  ¶¶ 7-10.


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  Hijazi.”6 Other decisions have applied the same distinction. See, e.g., United States v. Bokhari,

  757 F.3d 664, 672 (7th Cir. 2014) (“Unlike Hijazi, whose prosecution posed significant

  extraterritoriality concerns, Bokhari should have understood that, as a citizen of the United States

  who had lived in this country for many years, he had an obligation to return to stand trial.”); see

  also United States v. Catino, 735 F.2d 718, 720 (2d Cir. 1984) (applying doctrine to individual

  who was present in New York, found guilty there, and then fled).7

         Second, the Shalhoub Court found an “adequate remedy,” Opp’n at 10 (quoting 855 F.3d

  at 1265), for purposes of an extraordinary-writ analysis vis-à-vis its appellate jurisdiction, an issue

  irrelevant here. See 855 F.3d at 1263-65. See also United States v. Martirossian, 917 F.3d 883,

  890 (6th Cir. 2019) (same posture, same holding, same reasoning). Mr. Saab does not seek

  mandamus. Whatever Shalhoub’s discussion might mean vis-à-vis that remedy, it did not reject

  Hijazi’s fugitive-disentitlement analysis.8 And, Shalhoub’s fugitive-disentitlement discussion is
  entirely inapposite. Unlike Shalhoub, Mr. Saab was in another country when the indictment issued,

  the United States has never been his home, see Shalhoub, 855 F.3d at 1263, and he was never in

  the United States at any relevant time.

         And, Mr. Saab has been ordered—by the country to which he owes diplomatic

  allegiance—not to come to the United States. Thus, even if Mr. Saab knew of his indictment, he


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    The government’s claim that Mr. Saab has U.S. contacts, Opp’n at 13-14, identifies those of
  others. See id. It does not dispute that he has not visited this country in decades. The expansion of
  the doctrine that originally applied to “a criminal defendant who had escaped and remained at
  large,” Pesin v. Rodriguez, 244 F.3d 1250, 1252 (11th Cir. 2001), to a defendant based on the
  presence of others in this country, and their failure to return, would be precisely the unfounded
  expansion of the doctrine condemned in Degen, 517 U.S. at 828-29.
  7
    The government’s reliance on In re Kashamu, 769 F.3d 490, 493 (7th Cir. 2014), is misplaced.
  That case involved tolling of the statute of limitations, presenting entirely different considerations.
  8
    While the government faults Mr. Saab, Opp’n at 10, for focusing on the district court’s Shalhoub
  decision, it was the district court’s decision that is situated similarly to this motion. United States
  v. Itriago, No. 13-20050-CR, 2019 WL 1232128, at *2 (S.D. Fla. Feb. 8, 2019), cited by the
  government, Opp’n at 10, did not appreciate the distinction between Shalhoub’s adequate-remedy
  analysis for appellate mandamus and initial consideration of a motion like this one. See Fox v.
  Acadia State Bank, 937 F.2d 1566, 1570 (11th Cir. 1991) (“A district court is not bound by another
  district court’s decision, or even an opinion by another judge of the same district court.”).


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  has not “refused” to surrender, Opp’n at 11 (quoting Shalhoub), as he has not made a free choice,

  see 855 F.3d at 1263 (Shalhoub did “not want to submit” to the court’s jurisdiction.”). Indeed, the

  government’s claim, Opp’n at 14, that Mr. Saab “refused” to submit to the Court’s jurisdiction

  implies that every person on Earth owes allegiance to the United States and any other national

  allegiance comes second.9 Under that logic, the Queen of England would, if charged in the U.S.,

  be a fugitive merely by asserting that England’s sovereign immunity would be offended if she

  submitted to U.S. custody. Neither Shalhoub, nor any other of the government’s cases, support this

  extraordinary doctrine. Importantly, Shalhoub also distinguished Hijazi because, in that case, “the

  Government of Kuwait has formally protested on three occasions the fact that Hijazi is under

  indictment,” 589 F.3d at 411, whereas “Shalhoub cites no refusal by the Saudi Government to

  extradite him.” 855 F.2d at 1264.

         The government’s cases also posit that, in ordinary fugitive-disentitlement cases, there is

  no cognizable harm to a defendant by requiring his submittal to the Court’s jurisdiction. Shalhoub,

  855 F.3d at 1265; see also Martirossian, 917 F.3d at 890. But, Mr. Saab has been ordered, based

  on his diplomatic immunity, by his own country not to submit. Forcing his appearance in such

  circumstances, where he would have to defy his own government, alone is sufficient to make this

  case like Hijazi. Even if Shalhoub imposed an extraordinary-writ-style adequate remedy

  requirement, 855 F.3d at 1259, that standard would be met here. See Mitchell v. Forsyth, 472 U.S.

  511, 527 (1985) (holding that “immunity is in part an entitlement not to be forced to litigate” and

  hence confers an immediate appeal right); Swarna v. Al-Awadi, 622 F.3d 123, 141 (2d Cir. 2010)

  (finding this reasoning applicable to diplomatic immunity). Requiring Mr. Saab to submit to assert

  his immunity denies that immunity.

         Finally, the government identified no impediment to adjudication of the pending motion

  caused by Mr. Saab’s absence. See Degen, 517 U.S. at 825-27. Its claim, Opp’n at 14, that Mr.


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    The Supreme Court has long recognized that “ministers, consuls, and citizens or subjects of
  foreign States” do not owe allegiance to the United States, a doctrine codified in the Fourteenth
  Amendment. See Slaughter-House Cases, 83 U.S. 36, 73 (1872).


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  Saab will not “comply with an adverse order from this Court” ignores that he is detained in Cape

  Verde. Cf. Mastro v. Rigby, 764 F.3d 1090, 1096 (9th Cir. 2014) (“[W]e have generally confined

  our application of the fugitive disentitlement doctrine to challenges to detentions, where an

  appellant’s status as a fugitive from confinement clearly undercuts his challenge to his

  confinement.”). There is no policy supporting fugitive disentitlement present here. The United

  States recognizes diplomatic immunity doctrinally, so there is no “indignity visited upon the

  District Court by [Mr. Saab’s] absence” before immunity is adjudicated, Degen, 517 U.S. at 828,

  for much the same reason that collateral-order appeals from the denial of immunity are routinely

  allowed. Mitchell, 472 U.S. at 527.

         Indeed, the United States, being the world’s preeminent diplomatic power with the largest

  number of special envoys tremendously benefits from the recognition of such envoys’ diplomatic

  immunity. And because defendants can only in exceptional cases claim immunity, there is no need

  to expand the doctrine “to deter flight from criminal prosecution by [Mr. Saab] and others.” Id. at

  828. No “necessity giving rise” to fugitive disentitlement is present, so the doctrine cannot apply.

  Degen, 517 U.S. at 829.

  IV.    Mr. Saab’s Diplomatic Immunity Creates Special Circumstances

         Even if fugitive disentitlement applied here, it is difficult to formulate more compelling

  special circumstances than Mr. Saab’s diplomatic immunity. The fact that the Secretary of State

  has not accepted his diplomatic status, Opp’n at 16, is irrelevant as U.S. notification and acceptance

  requirements do not apply to a diplomat accredited to Iran.

         As explained in Mr. Saab’s proposed motion to dismiss the indictment, at a minimum he

  qualifies for immunity under the Vienna Convention on Diplomatic Relations (“Vienna

  Convention”), Apr. 18, 1961, 23 U.S.T. 3227, T.I.A.S. No. 7502, and under customary

  international law, being head of a diplomatic mission from Venezuela to Iran. See Vienna

  Convention Arts. 1(e), 3(1)(a), 14(b) 29, 31 29, 31. As such, he is entitled to personal

  “inviolability,” and is not “liable to any form of arrest or detention.” Vienna Convention Art. 29.

  The United States is a party to the Vienna Convention and has enacted the Diplomatic Relations


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  Act, 22 U.S.C. §§ 254a-258a (“DRA”), requiring dismissal of any action or proceeding against an

  individual entitled to such immunity. See 22 U.S.C. § 254d.

          The deference normally due to a State Department determination of diplomatic status, see

  Opp’n at 17, is inapplicable.10 Abdulaziz v. Metropolitan Dade County, 741 F.2d 1328 (11th Cir.

  1984), and other cases treating such determinations as conclusive involve the question whether an

  individual, within the United States and claiming diplomatic status as a representative to the United

  States, is a diplomat with immunity. Deference in such cases is grounded in the President’s

  exclusive power to appoint and “receive Ambassadors and other public Ministers.” U.S. Const.,

  Art. II, §§ 2, 3.

          The government’s reliance on In re Biaz, 135 U.S. 403 (1890) is misplaced. There, the

  Court considered whether an American citizen, as an “acting minister or charge d’affairs” of

  Guatemala, Salvador, and Honduras within and to the United States, was entitled to diplomatic

  immunity. He was not so entitled as the Secretary of State had not received him as such and the

  Secretary’s determination was the best evidence of his status, given the President’s power to

  receive ambassadors. Id. at 419, 432. See also United States v. Al-Hamdi, 356 F.3d 564 (4th Cir.

  2004) (explaining that the Biaz Court found the State Department’s certificate the best evidence to

  show diplomatic status based on the President’s authority to send and receive ambassadors).

          The United States is neither the sending nor the receiving state here, but it is bound by

  treaty obligations and customary international law to recognize the diplomatic status of third

  country envoys. Article 40 of the Vienna Convention, and customary international law, guarantee

  immunity to diplomats who are in transit (or in transitu) from their sending state (Venezuela), to

  their designated receiving state (Iran), whether that diplomat is passing through or present in the

  territory of a third state. Under these provisions “recognition” by the third state is not required,

  and a passport is required only if “necessary.” Art. 40 (1). As Mr. Saab had no plans to traverse



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    In addition, the State Department has suggested only that it is unaware of any basis for Mr.
  Saab’s claim to immunity, Opp’n at 17—not surprising as he has never been posted to the U.S.


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   the United States, or Cape Verde, while traveling to Iran, securing such passports was neither

   necessary nor possible.

          Law-abiding nations do not molest or interfere with the diplomats of other states, so there

   is little precedent in this area. However, American courts have recognized the immunity of foreign

   diplomats “in transitu” under customary international law, now codified in the Vienna Convention.

   The leading authority is Judge Learned Hand’s opinion in Bergman v. De Sieyes, 170 F.2d 360 (2d

   Cir. 1948), where the Second Circuit recognized the immunity of a French diplomat, transiting

   New York City to take up his post in Bolivia.11 See also United States v. Rosal, 191 F. Supp. 663,

   664 (S.D.N.Y. 1960) (“diplomats-in-transit (although not accredited to the United States) are

   entitled to immunity when they are in the United States en route. . . .”). This reflects the non-

   interference principle (ne impediatur officium/legatio, i.e. “’[m]ay the legation not be impeded’.

   A maxim expressing the immunity of diplomatic persons and their papers. . . .”: Fellmeth, A.X.

   and Horwitz, M., A Guide to Latin in International Law (Oxford University Press 2009), which

   also is enshrined in Article 2(1) of the United Nations Charter.

          The question in Bergman was whether in transitu diplomatic immunity was limited to

   “immunity to an arrest, or other restraint,” a given, or whether it also included immunity from civil

   process. Id. at 361. The Second Circuit affirmed the district court’s conclusion that a diplomat in

   transitu was entitled to the same immunities as one resident (in situ) in the jurisdiction. Judge

   Hand reasoned that the primary reason for recognizing diplomatic immunity (in addition to respect

   for the dignity of the sending sovereign) was to avoid the “interference with his duties which either

   arrest or service entails,” and that this was more powerful in the case of a diplomat in transitu:

   “the second reason [interference with duties] is weightier in the case of a diplomat in transitu, for

   it will ordinarily more interfere with the discharge of his duties to be obliged to attend the trial of

   an action pending in a third state, than that of one pending in the state of his post.” Id. at 363.


   11
     The court’s conclusions were based on what it believed New York’s courts would hold applying
   international law principles, but approved these principles as applied, finding no misapprehension
   or refusal to “accept a well-established doctrine of international law.” Id. at 361.


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          Like Mr. Saab, the diplomat in Bergman was not accredited to the United States, and had

   not yet reached his destination. Judge Hand found that “[i]t is scarcely necessary to add that

   immunity would be altogether frustrated, in the case of all diplomats seeking their posts for the

   first time, if it were limited to those already accepted by the sovereign to whom they are

   accredited.” Id. With regard to any requirement of Executive Branch approval for an in transitu

   diplomat, Judge Hand noted that “[i]f such a limitation should be thought to exist in § 252, Title

   22, U.S. Code [giving immunity to diplomats “authorized and received as such by the President”],

   it is not relevant to the situation at bar.” Id. And, if Mr. Saab were to be transferred to the United

   States, he would certainly qualify as a diplomat “in the territory of a third State” under Article 40,

   fully entitled to immunity under the Vienna Convention and customary international law.

          The poor relations between the United States and both Venezuela and Iran do not change

   this conclusion. Both Venezuela and Iran are state parties to the Vienna Convention and the United

   States remains bound by that multilateral agreement and by customary international law.

   Moreover, Mr. Saab’s Special Envoy appointment predates the United States’ refusal to recognize

   Nicolas Maduro as the winning candidate in 2019. See Mot. to Vacate, Ex. A.12 And, as the
   Eleventh Circuit ruled in Abdulaziz, the fact that Mr. Saab was designated as a “special envoy,”

   rather than an ambassador, also does not affect his entitlement to diplomatic immunity. Abdulaziz,

   741 F.2d at 1331.13

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      The State Department’s position on Venezuela’s government is far from clear. It states that “the
   Venezuelan National Assembly [is] . . . the only legitimate federal institution, according to the
   Venezuelan Constitution.” See U.S. Department of State, U.S. Relations with Venezuela, Bilateral
   Relations Fact Sheet (July 6, 2020), https://www.state.gov/u-s-relations-with-venezuela/. But,
   there has been no break in diplomatic relations. See id. The United States has no diplomatic
   relations with Iran, but recognizes its government. See https://history.state.gov/countries/iran
   (noting mutual recognition in 1850).
   13
      United States v. Sissoko, 995 F. Supp. 1469, 1470 (S.D. Fla. 1997) is inapposite, involving a
   special mission to the United States. Its conclusion that “special missions” are not immune is
   inconsistent with Abdulaziz, and has been overtaken by later State Department recognition of this
   immunity. See John Bellinger III, Department of State Legal Adviser, Immunities, OpinioJuris
   (Jan. 18, 2007), http://opiniojuris.org/2007/01/18/immunities/. See also Weixum v. Xilai, 568 F.
   Supp. 2d 35 (D.D.C. 2008) (court deferring to State’s suggestion that a member of a special
   diplomatic mission from China enjoyed immunity).


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   March 1, 2021                         Respectfully submitted,

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